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 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
11
                                              )
12                                            ) Case No.: SACV 21-00142CJC(ADSx)
                                              )
13
       FITNESS INTERNATIONAL, LLC,            )
                                              )
14                                            )
                  Plaintiff,                  )
15                                            ) JUDGMENT
             v.                               )
16                                            )
                                              )
17
       DDRM HILL TOP PLAZA L.P., and          )
                                              )
18     DOES 1 through 10 inclusive,           )
                                              )
19                                            )
                  Defendants.                 )
20                                            )
                                              )
21     DDRM HILL TOP PLAZA L.P.,              )
                                              )
22                                            )
                                              )
23                                            )
                  Counterclaimant,            )
24                                            )
                                              )
25           v.                               )
                                              )
26                                            )
       FITNESS INTERNATIONAL, LLC             )
27                                            )
                                              )
28                Counter-Defendant           )

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